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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

   TTT Foods Holding Company LLC,
   a Florida limited liability company,
                   Plaintiff,
   v.                                                   Case No.: 9:16-cv-81798-DMM

   BEATRICE NAMM, an individual,
   JONATHAN NAMM, an individual,
   and DELUXE GOURMET
   SPECIALTIES LLC, a New Jersey
               Defendants.
   _________________________________/

                         DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                           MOTION FOR SUMMARY JUDGMENT

          COME NOW the Defendants BEATRICE NAMM (“Mrs. Namm”), JONATHAN

   NAMM (“Mr. Namm”) and DELUXE GOURMET SPECIALTIES LLC, a New Jersey limited

   liability company (“Deluxe”), by and through the undersigned attorneys, and file this their

   Response to Plaintiff’s Motion for Summary Judgment, and state in support thereof as follows:

   I.   REPLY TO INTRODUCTION:

          There is no record support for a summary judgment as to any of Plaintiff TTT FOODS

   HOLDING COMPANY LLC’s, a Florida limited liability company (“Plaintiff”), claims. What

   the record supports is that the Plaintiff, based on a review of some bank accounts, is making

   unfounded allegations that are not only not supported by the record, but are untrue. Specifically,

   Plaintiff alleges that $118,000.00 was “transferred to or for the benefit of the Namms” by

   Deluxe, and “that the Judgment Debtor transferred over an additional $100,000 to or for the

   benefit of the Namms”, “for the payment of various personal expenses”. Plaintiff then goes on to



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   allege that JMT is “conducting a similar business” as the Judgment Debtor and that JMT “has

   been funded by revenue received from the Judgment Debtor’s product”. The foregoing

   allegations are not only not supported by the record, and disputed by Defendants, but they are

   untrue. In fact, Mrs. Namm, who had an annual compensation package approved by the Plaintiff

   of over $150,000.00, only was paid $16,210.81 from March 2015 to the present date. See Mrs.

   Namm’s Amended Affidavit at ¶82. As to the reference regarding JMT, the record is undisputed

   that JMT is a separate and distinct business, selling a totally different product, and any statement

   such as that JMT is “conducting a similar business” as the Judgment Debtor is misleading, at

   best. See Mrs. Namm’s Amended Affidavit at ¶82.

   II.    FACTS:

          Mrs. Namm developed some unique formulae and recipes for spaghetti and barbecue

   sauces, and salsas (“Recipes”). See Mrs. Namm’s Amended Affidavit at ¶2. Starting in 2006,

   without any prior business experience, she started to produce and sell spaghetti and barbecue

   sauces, and salsas, out of her home in New Jersey. See Mrs. Namm’s Amended Affidavit at ¶3.

   She eventually organized Defendant DELUXE GOURMET SPECIALTIES LLC, a New Jersey

   limited liability company (“Deluxe”), and started doing the sauces and salsa business through

   Deluxe. See Mrs. Namm’s Amended Affidavit at ¶4. She was the sole manager and member of

   Deluxe. See Mrs. Namm’s Amended Affidavit at ¶5. The Recipes were assets of Deluxe until

   they were transferred to the Judgment Debtor pursuant to the Asset Purchase Agreement on or

   about December of 2012. See Mrs. Namm’s Amended Affidavit at ¶6. The Recipes were very

   successful and have significant value. See Mrs. Namm’s Amended Affidavit at ¶7.


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          In 2012, when the Recipes were transferred to the Judgment Debtor, Bea’s Brooklyn’s

   Best, LLC, a Florida limited liability company (“Judgment Debtor”), paid her the sum

   $300,000.00 for 49% of the assets of Deluxe, the biggest asset of Deluxe being the Recipes. See

   Mrs. Namm’s Amended Affidavit at ¶8. When Plaintiff sold its 49% ownership interest back to

   the Judgment Debtor in March of 2015, the Judgment Debtor agreed to pay Plaintiff the sum of

   $320,000.01, recognizing the significant value of the assets of Judgment Debtor; the most

   valuable of the assets being the Recipes. See Mrs. Namm’s Amended Affidavit at ¶9. The

   Recipes have value today. See Mrs. Namm’s Amended Affidavit at ¶10. The Recipes have had

   value at all times since March 15, 2015. See Mrs. Namm’s Amended Affidavit at ¶11. The

   Recipes are assets of the Judgment Debtor. See Mrs. Namm’s Amended Affidavit at ¶12.

          Mrs. Namm believe the Recipes have significant value today, which Plaintiff’s expert

   hjas not considered. See Mrs. Namm’s Amended Affidavit at ¶13. Mrs. Namm believes that the

   value of the Recipes, at all times since March 2015, was well over the debt owed to Plaintiff. See

   Mrs. Namm’s Amended Affidavit at ¶14. The Recipes are still available to Plaintiff and have

   value which exceeds the remaining debts of the Judgment Debtor. See Mrs. Namm’s Amended

   Affidavit at ¶15. Neither Mrs. Namm nor the Judgment Debtor have transferred to anyone any of

   the Recipes. See Mrs. Namm’s Amended Affidavit at ¶16.

          Mrs. Name stated there is no question that the Judgment Debtor is not now, nor as it ever

   been, insolvent. See Mrs. Namm’s Amended Affidavit at ¶17. The Judgment Debtor was not

   insolvent on March 2015, nor at any other time when any of the transfers that form the subject

   matter of this lawsuit were made, nor is it insolvent today. See Mrs. Namm’s Amended Affidavit


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   at ¶18. The assets of Judgment Debtor exceed the amount of all the debts of Judgment Debtor,

   and that fact was true on March of 2015, it was true from March 2015 to June of 2016, and is still

   true today. See Mrs. Namm’s Amended Affidavit at ¶19. Mrs. Namm disagrees with William G.

   King’s report and conclusion that the Judgment Debtor was insolvent at any time when any of the

   transfers that Plaintiff is alluding to in its undisputed facts statement submitted to the Court. See

   Mrs. Namm’s Amended Affidavit at ¶20.

          JMT Food Group LLC, a Florida limited liability company (“JMT”), as nothing to do

   with Deluxe or the Judgment Creditor. See Mrs. Namm’s Amended Affidavit at ¶21. On Januany

   15, 2015, Mrs. Namm organized JMT to manufacture and distribute humus, a totally distinct

   product from the Recipes and the barbecue sauces and pastas and salsas that Judgment Debtor

   sold, and totally unrelated to the Judgment Debtor. See Mrs. Namm’s Amended Affidavit at ¶22.

   Generally speaking, hummus is a Levantine dIP or spread made from cooked, mashed chickpeas

   or other beans, blended with tahiti, olive oil, lemon juice, salt and garlic. See Mrs. Namm’s

   Amended Affidavit at ¶23. Hummus is not a spaghetti or barbecue sauce or a salsa. See Mrs.

   Namm’s Amended Affidavit at ¶24. JMT has never been in the business of manufacturing or

   distributing spaghetti or barbecue sauces, or salsa. See Mrs. Namm’s Amended Affidavit at ¶25.

   Neither Deluxe nor Judgment Debtor were ever in the business of manufacturing or distributing

   hummus. See Mrs. Namm’s Amended Affidavit at ¶26.

          Plaintiff was organized on December 11, 2012, by Donald K. Porges. See Mrs. Namm’s

   Amended Affidavit at ¶27. Donald K. Porges was designated as the sole manager of Plaintiff, and

   as consistently been the sole manager of Plaintiff. See Mrs. Namm’s Amended Affidavit at ¶28.


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   Donald K. Porges is, and was at all times material hereto, a practicing certified public accountant

   with his own CPA firm. See Mrs. Namm’s Amended Affidavit at ¶29. Donald K. Porges

   organized Bea’s Brooklyn’s Best LLC, a Florida limited liability company (“Judgment Debtor”),

   on December 11, 2012. See Mrs. Namm’s Amended Affidavit at ¶30.

          Unbeknownst to Mrs. Namm at that time, Donald K. Porges designated himself as the

   sole manager of Judgment Debtor with the Florida Division of Corporations, and has consistently

   held himself as the sole manager of Plaintiff until March 20, 2015, at which time Mrs. Namm

   was then designated the sole manager. See Mrs. Namm’s Amended Affidavit at ¶31. Donald K.

   Porges was not supposed to be the sole manager. See Mrs. Namm’s Amended Affidavit at ¶32.

   According to the Operating Agreement, there were supposed to be three (3) managers.

   Specifically, Judgment Debtor’s Operating Agreement provided that it would be under the

   control of the three named managers (i.e., Mrs. Namm, Eric Scholer and Donald K. Porges), with

   each manager having certain specific designated areas of authority. See Mrs. Namm’s Amended

   Affidavit at ¶33.

          Mrs. Namm’s authority was limited, according to the Operating Agreement, to

   “[m]arketing, securing new accounts, research and development and quality control”. See Mrs.

   Namm’s Amended Affidavit at ¶34. Eric Scholer’s scope of authority, according to the Operating

   Agreement, was “[m]anaging the road show business, general administration (including

   financial, accounting, insurance and legal functions), marketing, negotiations and logistics”. See

   Mrs. Namm’s Amended Affidavit at ¶35. Donald K. Porges’ scope of authority, according to the

   Operating Agreement, was “[f]inancial, accounting and insurance matters”. Obviously, Mr.


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   Porges, by designating himself the sole manager, had a lot more control than what was

   designated in the Operating Agreement. See Mrs. Namm’s Amended Affidavit at ¶36.

          Plaintiff was in complete control of the finances, book keeping and records of the

   Judgment Debtor, including, but not limited to, he was responsible for keeping all financial

   records, invoicing customers, collecting accounts receivables, paying accounts payables, paying

   payroll (specifically, her compensation package), and accounting for all income and expenses,

   and was well aware at all times prior to and at least until March 27, 2015, of the financial status

   of the Judgment Debtor and how the Judgment Creditor was doing business, as well as the

   Judgment Debtor’s relationship with Deluxe. See Mrs. Namm’s Amended Affidavit at ¶37.

   Plaintiff knew better than anyone else the Judgment Debtor’s ability to incur and service the

   obligations created by the promissory notes that form the debts that are the subject matter of this

   action (“Notes”). See Mrs. Namm’s Amended Affidavit at ¶38. Plaintiff knew the Judgment

   Debtor’s financial condition at the time they decided to accept the Notes and they accepted the

   fact that its remedy for non-payment would be limited to collecting the debt from the Judgment

   Debtor. See Mrs. Namm’s Amended Affidavit at ¶39. For Plaintiff to claim that Mrs. Namm

   concealed any information, or somehow perpetrated a fraud upon Plaintiff, by having the

   Judgment Creditor undertake the debt is untenable. See Mrs. Namm’s Amended Affidavit at ¶40.

          Mrs. Namm did not conceal, or attempt to conceal, any of the transfers that form the

   subject matter of this lawsuit, or that are alleged to be fraudulent by Plaintiff, nor did Mrs. Namm

   intend to hinder, injure or defraud anyone by doing business by and through the Judgment

   Debtor. In fact, it is quite obvious from the checks written and the other bank records, as well as


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   the fact that the Judgment Debtor disclosed all the books and records to Plaintiff during the State

   Court proceedings, that there was no attempt by Mrs. Namm or anyone else on her behalf to

   conceal the nature of the transfers or the manner in which Mrs. Namm was operating the

   Judgment Debtor after March of 2015. See Mrs. Namm’s Amended Affidavit at ¶41. Had Mrs.

   Namm tried to defraud someone, Mrs. Namm would certainly have not made checks payable to

   her husband’s mortgage company, for example, but instead Mrs. Namm would have concealed

   the nature of the transfer, which Mrs. Namm never did. See Mrs. Namm’s Amended Affidavit at

   ¶42.

          All the monies Mrs. Namm received from the Judgment Creditor were either repayment

   to her of monies Mrs. Namm loaned to the Judgement Debtor or monies Mrs. Namm earned for

   her services to the Judgment Debtor. See Mrs. Namm’s Amended Affidavit at ¶43. The Judgment

   Debtor was her life and Mrs. Namm devoted her full time to it until Mrs. Namm realized it was

   futile to try to keep it in business because of Plaintiff’s conduct. See Mrs. Namm’s Amended

   Affidavit at ¶44. If anything had to be done to operate or manage the Judgment Debtor, it was up

   to Mrs Namm to get it done. See Mrs. Namm’s Amended Affidavit at ¶45. Mrs. Namm believed

   at the time, and still believes now, that Mrs. Namm was entitled to the monies Mrs. Namm

   received from the Judgment Debtor as compensation for her services to the Judgment Debtor and

   Mrs. Namm believes that the compensation was more than fair to the Judgment Debtor and far

   less than what Plaintiff and the Judgment Debtor agreed to pay her; in fact, her compensation had

   been established by Plaintiff in 2012 at a minimum of a salary of $75,000.00 plus $75,000.00 in

   advanced distribution, and but for her services to the Judgment Debtor, it would not be able to do


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   any business and would have ceased to operate in June of 2015. See Mrs. Namm’s Amended

   Affidavit at ¶46. While Plaintiff had control of the Judgment Debtor, Mrs. Namm was employed

   to promote and develop the products and would travel around the country holding shows and her

   compensation, approved by Plaintiff, was a salary of $75,000.00 a year, an additional advance on

   future distributions in the amount of $75,000.00 a year, and reimbursement for meals, gas, travel

   expenses and other miscellaneous items, for an annual compensation package of over

   $150,000.00. See Mrs. Namm’s Amended Affidavit at ¶47. Her compensation agreement with the

   Judgment Debtor after March 2015 did not change, except for the fact that the Judgment Debtor

   did not pay her because Plaintiff’s conduct caused a significant loss of business. See Mrs.

   Namm’s Amended Affidavit at ¶47. From March 2015 to June of 2016, Mrs. Namm was

   responsible to do everything that Mrs. Namm was doing before March of 2015 and, in addition

   thereto, she was also responsible for all the work Plaintiff was doing prior to March of 2015,

   which work Mrs. Namm needed to do or supervise after March of 2015. See Mrs. Namm’s

   Amended Affidavit at ¶48. Mrs. Namm tried to bring current the payment amounts that Plaintiff

   alleged were owed on June of 2015, but Plaintiff would not let her pay the amounts owed. See

   Mrs. Namm’s Amended Affidavit at ¶49.

          The reasons that the Judgment Debtor went out of business was because Plaintiff forced it

   out of business by interfering intentionally with the business relationship with its customers,

   refused to allow it to make the monthly payments under the Notes, garnished its bank account

   after obtaining a final judgment, and made it impossible for it to continue to do business. See

   Mrs. Namm’s Amended Affidavit at ¶50. Mrs. Namm tried keeping the Judgment Debtor


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   operating after June of 2015 only because she thought that things would work out and Plaintiff

   would realize the mutual benefit to accepting payments under the promissory notes, as opposed

   to wanting to destroy the business; Mrs. Namm was wrong. See Mrs. Namm’s Amended Affidavit

   at ¶51. Mrs. Namm has never concealed any assets of the Judgment Debtor. See Mrs. Namm’s

   Amended Affidavit at ¶52. Mrs. Namm has never concealed any transfers from the Judgment

   Debtor, nor did Mrs. Namm ever conceal any monies she was paid by the Judgment Creditor. See

   Mrs. Namm’s Amended Affidavit at ¶53. The Judgment Creditor employed and paid Mrs. Namm,

   and/or was obligated to pay Mrs. Namm, $150,000.00 a year ($75,000.00 as earned salary and

   $75,000.00 as an advancement on future distributions), and that was agreed to by Plaintiff; an

   amount that Plaintiff believed to be reasonable and fair by Plaintiff for the work Mrs. Namm was

   doing during that time frame (i.e., 2012 to March 2015) promoting the barbecue sauce, which

   was less responsibilities than Mrs. Namm was given after March 2015. See Mrs. Namm’s

   Amended Affidavit at ¶54. During 2015 and 2016, the Judgment Debtor was still obligated to pay

   her the $150,000.00. See Mrs. Namm’s Amended Affidavit at ¶55. However, Mrs. Namm was

   not paid that amount. See Mrs. Namm’s Amended Affidavit at ¶55.

          In January 2, 2015, Ms. Namm sued two of the principles of Plaintiff (i.e., Jeffrey

   Brandon and Eric Scholer) for violating the Asset Purchase Agreement dated December 11,

   2012. See Mrs. Namm’s Amended Affidavit at ¶56. On or about March 27, 2015, as part of the

   settlement negotiations of the aforementioned lawsuit, Plaintiff relinquished control and

   ownership of Judgment Debtor to Mrs. Namm in exchange for certain promissory notes to be

   paid exclusively by Brooklyn’s Best LLC. See Mrs. Namm’s Amended Affidavit at ¶57. At that


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   point, Mrs. Namm’s duties and responsibilities increased to include all responsibilities previously

   undertaken by Plaintiff. See Mrs. Namm’s Amended Affidavit at ¶58. There was no longer any

   division of labor and everything rested on Mrs. Namm’s shoulders. See Mrs. Namm’s Amended

   Affidavit at ¶59.

          Plaintiff, at all times material thereto, was represented by a group of attorneys who

   drafted the promissory note, which group of attorneys included John Page and Bernice Lee, the

   two (2) attorneys representing Plaintiff in this case. See Mrs. Namm’s Amended Affidavit at ¶60.

   Mrs. Namm did not sign or otherwise guarantee repayment of the promissory notes. See Mrs.

   Namm’s Amended Affidavit at ¶61. Plaintiff, knowing full well the financial condition of the

   Judgment Debtor, and knowing Mrs. Namm very well and knowing the compensation Mrs.

   Namm was paid by the Judgment Debtor, agreed to accept the risks and consequences of the

   Judgment Debtor not repaying the said notes, knowing that Mrs. Namm would be getting paid at

   least $75,000.00 in salary, if not the entire $150,000.00 compensation package Plaintiff had

   agreed to and the Judgment Debtor had undertaken. See Mrs. Namm’s Amended Affidavit at ¶62

          On June 3, 2015, Plaintiff declared Judgment Debtor in default and refused any further

   payments under the notes. See Mrs. Namm’s Amended Affidavit at ¶63. Prior to June 3, 2015,

   Mrs. Namm attempted to pay all amounts due under the notes, but Plaintiff refused to accept

   payment. See Mrs. Namm’s Amended Affidavit at ¶64. Mrs. Namm later learned that Plaintiff’s

   attorney, John Page, had already began contacting her customers, as of June 1, 2015. See Mrs.

   Namm’s Amended Affidavit at ¶65. That was done by Plaintiff’s attorney, John Page, sending the

   Judgment Debtor’s customers on June 1, 2015, the letter and enclosures attached as Exhibit “A”


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   to the Judgment Debtor’s responsive pleading in the State Case filed by Plaintiff; a copy of the

   Judgment Debtor’s responsive pleading in the State Case is attached hereto and incorporated

   herein as Exhibit “A”. See Mrs. Namm’s Amended Affidavit at ¶66. The letter was on Mr. Page’s

   letterhead and starts by stating that Mr. Page represents Plaintiff “regarding its claim against

   Judgment Debtor (underline added).” See Mrs. Namm’s Amended Affidavit at ¶67. The

   customers were being told by Mr. Page that there was a “claim” against the Judgment Debtor.

   See Mrs. Namm’s Amended Affidavit at ¶68. In other words, the Judgment Debtor was

   delinquent in its obligations to Plaintiff or, put another way, the Judgment Debtor was not paying

   its bills. See Mrs. Namm’s Amended Affidavit at ¶69. The letter then goes on to state that the

   customer has “an account owing to Judgment Debtor’s Best, LLC”. See Mrs. Namm’s Amended

   Affidavit at ¶70. The customer is now being told that the customer owes monies to Judgment

   Debtor. See Mrs. Namm’s Amended Affidavit at ¶71. That statement is being made without

   Plaintiff knowing if the customer actually owed anything to the Judgment Debtor at that

   particular time, and was insulting to the customer because it infers that the customer is delinquent

   and owes Judgment Debtor monies that it has not timely paid. See Mrs. Namm’s Amended

   Affidavit at ¶72. Mr. Page then provided the customer with a copy of the promissory notes. See

   Mrs. Namm’s Amended Affidavit at ¶73. Mr. Page then stated to the customer that Judgment

   Debtor “is now in default” under the “promissory notes and security agreements” and tells the

   customer that payment “is to be made to” Mr. Page. See Mrs. Namm’s Amended Affidavit at ¶74.

   Mr. Page also attached his wiring instructions. See Mrs. Namm’s Amended Affidavit at ¶75.

          The Judgment Debtor’s customers were shocked at having received the letters and


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   enclosures, and their reaction was mixed. See Mrs. Namm’s Amended Affidavit at ¶76. Costco,

   for example, stop doing business with the Judgment Creditor as a direct result of Mr. Page’s

   letter and enclosures. See Mrs. Namm’s Amended Affidavit at ¶77. The Judgment Debtor was

   willing and able to bring the payments current, but Mr. Page refused to allow it to pay the

   delinquent amount, instead insisting that attorney fees in the amount of $12,585.00 had already

   accrued as of June 11, 2015 and would need to be paid (for just a few days of work in drafting

   and sending the letter of June 1, 2015); the email string is attached hereto as Exhibit “B”. See

   Mrs. Namm’s Amended Affidavit at ¶78.

          As to Plaintiff’s Statement of Undisputed Facts ¶ 44, Plaintiff’s Exhibit 25 purports to

   state that Mrs. Namm took $120,075.32 from Judgment Debtor; that is not true. From the

   $120,075.32 on Plaintiff’s Exhibit 25, the amount of $75,347.19 consisted of business expenses

   of the Judgment Debtor, leaving $44,728.13 which was provided to Mrs. Namm to reimburse her

   for the loans to the Judgment Debtor and as part of her compensation. Mrs. Namm composed a

   list which states the purpose for each withdrawal, which is attached hereto as Exhibit “C”. See

   Mrs. Namm’s Amended Affidavit at ¶79.

          As to Plaintiff’s Statement of Undisputed Facts ¶ 45, Plaintiff’s Exhibit 26 purports to

   state that Mrs. Namm took $119,105.88 from Deluxe; that is not true. From the $119,105.88

   Plaintiff’s Exhibit 26, the amount of $68,933.53 consisted of business expenses of the Judgment

   Debtor, leaving $50,172.35 which was provided to Mrs. Namm to reimburse her for her loans to

   the Judgment Debtor and as part payment of her salary and compensation. Mrs. Namm composed

   a list which states the purpose for each withdrawal, which is attached hereto as Exhibit “D”. See


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   Mrs. Namm’s Amended Affidavit at ¶80.

          Mrs. Namm loaned the Judgment Debtor a total of $78,689.67. Mrs. Namm has attached

   hereto and incorporated herein the chart reflecting the loans Mrs. Namm made to Judgment

   Debtor as Exhibit “E”. See Mrs. Namm’s Amended Affidavit at ¶81.

          When you add the $44,728.13 net amount from Plaintiff’s Exhibit 25 and the $50,172.35

   net amount from Plaintiff’s Exhibit 26 and subtract from that the $78,689.67 loaned amount, her

   paid salary was $16,210.81 for all her services to the Judgment Debtor from March 2015 to the

   present day. See Mrs. Namm’s Amended Affidavit at ¶81.

          The amounts in Plaintiff’s Exhibits 25 and 26, minus the ordinary operating expenses

   reflected in Defendants Exhibits “B” and “C”, were compensation for Mrs. Namm’s services to

   the Judgment Debtor. Therefore, her compensation was $16,210.81 for all the work Mrs. Namm

   did for Judgment Debtor from March 2015 until the present date. See Mrs. Namm’s Amended

   Affidavit at ¶82.

          All the monetary compensation Mrs. Namm received (i.e., $16,210.81) for working for

   the Judgment Debtor after March of 2015 directly benefitted the Judgment Debtor and was less

   than what is reasonable to pay for her services to the Judgment Debtor. Also, but for Mrs.

   Namm’s work for the Judgment Debtor after March 2015, the Judgment Debtor would have gone

   out of business in June 2015, instead of June of 2016 (when Plaintiff made it impossible for the

   Judgment Debtor to continue doing business). See Mrs. Namm’s Amended Affidavit at ¶83.

          As to Plaintiff’s Statement of Undisputed Facts ¶41 and ¶42, the $11,365.00 and

   $3,718.89 belonged to JMT, not Deluxe or the Judgment Debtor; JMT’s customer mistakenly


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   sent the check to Deluxe. Shoprite and some other accounts were purchasing hummus from JMT.

   Those same customers and accounting department never made the changes to JMT and did mail

   checks that said Deluxe Gourmet Specialties in error. Their accounts payable department should

   have made the checks payable to JMT. Once those checks cleared they were transferred to JMT.

   Plaintiff has all the records that would verify the foregoing facts, for they have subpoena all

   records of the customers. See Mrs. Namm’s Amended Affidavit at ¶84.

          As to Plaintiff’s Statement of Undisputed Facts ¶9: Plaintiff was repeatedly instructed by

   Mrs. Namm to contact the customers and advise them that the Judgment Debtor is the company

   doing business, not Deluxe, and to instruct the customers to forward payment to the Judgment

   Creditor not Deluxe. Plaintiff refused to do so. Instead, Plaintiff continued to accept checks and

   deposits made payable to Deluxe, endorsing many of the checks as “Twin Tower Trading Inc”

   and/or “Bea’s Brooklyn’s Best LLC”, and depositing them in Bea’s Brooklyn’s bank account.

   Mrs. Namm has attached copies of those canceled checks, as Exhibit “F”. Plaintiff controlled and

   made the deposits of all checks owed to Bea’s Brooklyn, whether or not the check was made

   payable to Deluxe or the Judgment Creditor up to March 27, 2015. See Mrs. Namm’s Amended

   Affidavit at ¶85.

          As to Plaintiff’s Statement of Undisputed Facts ¶10: The transcript speaks for itself and

   does not support that statement. As to the second sentence, Mrs. Namm did testify to that affect

   but Mrs. Namm was mistaken. The reason why those checks were deposited in Deluxe was

   because the checks were made payable to Deluxe. See Mrs. Namm’s Amended Affidavit at ¶86.

          As to Plaintiff’s Statement of Undisputed Facts ¶11, records for account ending in 6618


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   speak for themselves. Furthermore, it was common practice of the Judgment Debtor, since 2012,

   to receive checks made payable to Deluxe. Plaintiff had the ability to deposit in the Judgment

   Debtor’s account checks made payable to Deluxe, but Mrs. Namm did not have the banking

   connections that allowed her to do so, so Mrs. Namm had to deposit the Deluxe checks in the

   Deluxe bank account. See Mrs. Namm’s Amended Affidavit at ¶87.

             As to Plaintiff’s Statement of Undisputed Facts ¶12, Mrs. Namm made the statement but

   she was mistaken. See Mrs. Namm’s Amended Affidavit at ¶88.

             As to Plaintiff’s Statement of Undisputed Facts ¶13, that is untrue; the Notes were not in

   default on April 27, 2015, as is self evident from the Notes themselves, as well as the letter

   referred to by Plaintiff. Mrs. Namm’s position was and is that the Judgment Debtor was not in

   default on April 27, 2015. See Mrs. Namm’s Amended Affidavit at ¶89.

             Defendants admit Plaintiff’s Statement of Undisputed Facts ¶14, except that Defendants’

   position was in the State Court that there was no default under the Notes. See Mrs. Namm’s

   Amended Affidavit at ¶90.

             As to Plaintiff’s Statement of Undisputed Facts ¶28, the statement is not true. While

   Deluxe and JMT operated out of the indicated address, prior to March of 2015 the Judgment

   Debtor operated out of Florida.

             As to Plaintiff’s Statement of Undisputed Facts ¶23, any transaction after Mrs. Namm’s

   resignation would have been part of the winding down of the business and the last check cleared

   on June 26, 2016, for an invoice mailed on May 15, 2016. See Mrs. Namm’s Amended Affidavit

   at ¶92.


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          As to Plaintiff’s Statement of Undisputed Facts ¶29, ¶31 and ¶32, Deluxe was not in

   business after 2012 and as such, had no customers and did not sell anything after 2012. Deluxe

   has not sold anything since 2012; all the selling has been done by the Judgment Creditor, even if

   checks were sent to the Judgment Creditor in the name of Deluxe. Plaintiff was repeatedly

   instructed by Mrs. Namm to contact the Judgment Debtor’s customers and advise them that the

   Judgment Creditor is the company doing business and to instruct them to forward payment to the

   Judgment Creditor, instead of Deluxe. The fact that customers made their check payable to

   Deluxe did not change that fact. It is misleading and false to state that Deluxe and the Judgment

   Creditor sell the same products. All the selling has been done by the Judgment Creditor after

   2012, even if checks were sent to the Judgment Creditor in the name of Deluxe. See Mrs.

   Namm’s Amended Affidavit at ¶93.

          Plaintiff’s Statement of Undisputed Facts ¶33 and ¶34 are untrue. Deluxe is not the same

   company as the Judgment Debtor, and “Deluxe Gourmet” or “Deluxe Gourmet Specialties” are

   not separate companies, but both are a reference to Deluxe. The amounts shown on Exhibit 19

   are payments belonging to JMT that were made payable to “Deluxe Gourmet” or “Deluxe

   Gourmet Specialties” by mistake and were properly deposited or transferred to the JMT’s bank

   account. See Mrs. Namm’s Amended Affidavit at ¶94.

          As to Plaintiff’s Statement of Undisputed Facts ¶35: When Mrs. Namm saw that Kaltec’s

   (one of the manufacturers for the Judgment Debtor) invoice due dates were approaching, Mrs.

   Namm would withdraw funds from the Judgment Creditor’s account and deposit them into

   Deluxe account ending in 6618 to combine Deluxe and the Judgment Creditor’s monies together


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   to complete the amount of monies owed. Since Kaltec was a TD bank customer (and to save her

   wiring fees) Mrs. Namm would sometimes deposit the cash into the Deluxe bank account then

   ask for a deposit slip and deposit funds right into the Kaltec’s TD Bank account ending 5492 and

   then confirm with Lisa, a person in their accounting department, that the funds went through.

   Mrs. Namm would note that Plaintiff subpoeanaed all Kaltec invoices so all this information is in

   Plaintif’s possession. See Mrs. Namm’s Amended Affidavit at ¶95.

          As to Plaintiff’s Statement of Undisputed Facts ¶36: Mrs. Namm understood the

   interrogatory to be asking about transfer of personal property and that is the way Mrs. Namm

   answered that interrogatory. You will note that the very next interrogatory requested information

   on “money” and at that time the Judgment Debtor had provided all its books and records, his

   accountant’s deposition had been taken and Plaintiff had in its possession all the books and

   records of Plaintiff. See Mrs. Namm’s Amended Affidavit at ¶96.

          As to Plaintiff’s Statement of Undisputed Facts ¶ 40, that statement is untrue. Deluxe did

   not transfer the $118,737.56 to or for the benefit of Mrs. Namm’s husband nor her. See Mrs.

   Namm’s Amended Affidavit at ¶97.

          Defendants do not dispute the statement in Plaintiff’s Statement of Undisputed Facts ¶44,

   but JMT had nothing to do with the Judgment Debtor and is a separate and distinct company with

   separate and distinct products. See Mrs. Namm’s Amended Affidavit at ¶98.

          As to Plaintiff’s Statement of Undisputed Facts ¶ 47, Mrs. Namm disputes this statement

   in that Mr. Namm assisted her from time to time in her work for the Judgment Debtor. See Mrs.

   Namm’s Amended Affidavit at ¶99.


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           As to Plaintiff’s Statement of Undisputed Facts ¶ 49, Mrs. Namm denies that statement in

   that Mrs. Namm gave other explanations as to the transfer, whatever transfers are being referred

   to by Plaintiff. If the statement is meant to refer only as to what Mrs. Namm said or did not say

   during her deposition, the transcript speaks for itself. See Mrs. Namm’s Amended Affidavit at

   ¶100.

           As to Plaintiff’s Statement of Undisputed Facts ¶ 50, Mrs. Namm denies that statement in

   that there is evidence that some of the transfers, whatever transfers are being referred to by

   Plaintiff at the time, were for her salary. If the statement is meant to refer only as to wha tMrs.

   Namm said or did not say during her deposition, the transcript speaks for itself. See Mrs. Namm’s

   Amended Affidavit at ¶101.

           As to Plaintiff’s Statement of Undisputed Facts ¶ 51, Mrs. Namm denies this statement.

   There were in fact payments regularly made by the Judgment Debtor to Mrs. Namm for her

   salary and compensation, in unequal amounts. See Mrs. Namm’s Amended Affidavit at ¶102.

           As to Plaintiff’s Statement of Undisputed Facts ¶ 52, Mrs. Namm is not an accountant

   and the tax returns depicted speak for themselves. See Mrs. Namm’s Amended Affidavit at ¶103.

           As to Plaintiff’s Statement of Undisputed Facts ¶ 53, Mrs. Namm’s deposition transcript

   speaks for itself. She is not an accountant and she had an accountant do her tax returns. See Mrs.

   Namm’s Amended Affidavit at ¶104.

           Mrs Namm denies Plaintiff’s Statement of Undisputed Facts ¶ 57 and 58. Judgment

   Debtor was not insolvent during the period of March 27, 2015 through June 30, 2016. Mr. King’s

   report says what it says, but Mrs. Namm disagrees with Mr. King’s conclusions and opinions


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   because the assets of Judgment Debtor exceeds its liabilities and but for Plaintiff’s intentional

   interference with the Judgment Debtor’s customers and Mr. King noting the entire debt due on

   the Notes each month, the Judgment Debtor was making money. Mrs. Namm disagrees with Mr.

   King’s report and findings and disputes the facts, assumptions and method by which it was

   determined that in his opinion the Judgment Debtor was insolvent, and Mrs. Namm notes that no

   affidavit was provided by Mr. King. See Mrs. Namm’s Amended Affidavit at ¶105.

          As to Plaintiff’s Statement of Undisputed Facts ¶ 61, the statement is misleading. Kaltec

   payments were always behind because payment on their invoice was due 30 days after invoicing.

   See Mrs. Namm’s Amended Affidavit at ¶106.

   III.   RESPONSE TO THE SUMMARY JUDGMENT STANDARD:

          The law recited by Plaintif’s counsel is correct. However, on a motion for summary

   judgment, the Court must view all the evidence and all factual inferences drawn therefrom in the

   light most favorable to the non-moving party and determine whether the evidence could

   reasonably sustain a jury verdict for the non-movant. Celotex Corp. v. Catrett, 477 U.S. 317, 322,

   106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986); Miles v. Jones, 2010 U.S. Dist. LEXIS 139617, *12-13

   (S.D. Fla. Nov. 22, 2010).

   IV.    RESPONSE AS TO COUNT I:

          In order to prevail under Count I (§726.105(1)(a), Florida Statutes), Plaintiff must show

   “actual intent to hinder, delay or defraud”. Fraudulent intent often cannot be resolved on a

   motion for summary judgment because there is a factual question involving the parties' states of

   mind, actual fraudulent intent. "Ordinarily, the issue of fraud is not a proper subject of a


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   summary judgment. Fraud is a subtle thing, requiring a full explanation of the facts and

   circumstances of the alleged wrong to determine if they collectively constitute a fraud." Rosen v.

   Zoberg, 680 So. 2d 1050, 1052 (Fla. 3d DCA 1996 ) (quoting Auto. Sales, Inc. v. Federated Mut.

   Implement & Hardware Ins. Co., 256 So. 2d 386, 386 (Fla. 3d DCA 1972 )).

          There is no record support establishing undisputed evidence of an intent to hinder, delay

   or defraud by either Mr. or Mrs. Namm. In fact, the record contains compelling evidence that

   there was no intent to defraud, but instead, at worst, there was some bad record keeping by the

   Judgment Debtor. See, Mrs. Namm’s entire Amended Affidavit.

          Plaintiff refers to the factors listed in §726.105(2), Florida Statutes, that a court may

   consider to determine “intent”. Those are exactly what the statutes states they are, factors to

   consider. Their presence do not dictate a finding of an intent to defraud. In this case, in particular,

   the technical or apparent presence of some evidence of one or a number of the factors does not

   compel a finding of fraud which can sustain a summary judgment.

   V.     RESPONSE AS TO COUNT II:

          As to Count II (§726.105(1)(b), Florida Statutes), in order to prevail Plaintiff must

   establish undisputed evidence establishing that the Judgment Debtor, without receiving

   equivalent value, “[w]as engaged or was about to engage in a business or a transaction for which

   the remaining assets of the debtor were unreasonably small in relation to the business or

   transaction; or [i]ntended to incur, or believed or reasonably should have believed that he or she

   would incur, debts beyond his or her ability to pay as they became due.” As previously stated, the

   Judgment Creditor received equivalent value for all transfers and was not insolvent. The assets of


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   the Judgment Debtor, even today, are sufficient to satisfy Plaintiff’s debt, and when the debt was

   initially incurred not only did the Judgment Debtor believe it had the ability to to pay the debt as

   it became due, but Plaintiff, an insider of the Judgment Debtor at the time of the incurring of the

   debt, believed that the Judgment Debtor had the ability to pay the debt or it would not have

   agreed to the Notes. There is no record support for the entry of summary judgment as to Count II.

   VI.     RESPONSE AS TO COUNT III:

           As to Count II (§726.106(1), Florida Statutes), for all the same reasons articulated as to

   Count I and II, supra, there is no record support for the entry of summary judgment as to Count

   III, Plaintiff having failed to meet its burden of proof.

   VII.    RESPONSE AS TO COUNT V (Fiduciary Duty):

           The undersigned was unable to find any Florida law that would support the notion that

   Mrs. Namm owed Plaintiff a fiduciary duty. Furthermore, based on the law presented by Plaintiff

   in its motion, one of the requirements for that fiduciary duty that Plaintiff alleges is that the

   Judgment Debtor be insolvent, and that is an issue of fact to be determined by the trier of fact and

   a fact that is disputed. Mrs. Namm has clearly articulated that the Judgment Debtor has not been

   and is not now insolvent. Furthermore, the trier of fact will need to determine if there is any

   fiduciary duty owed bb Mrs. Namm to the Plaintiff.

   VIII.   RESPONSE AS TO COUNT VI (Successor Liability):

           Deluxe has not done business since 2012. The fact that checks owed to the Judgment

   Debtor were issued in the name of Deluxe does not change that fact. There is no basis to support

   the fact that Deluxe is a “successor entity”. It is difficult, if not impossible, to think of a


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   reasonable reason why Plaintiff would pursuit Count IV in this case, knowing that Deluxe does

   no business; the business was done exclusively by the Judgment Debtor after 2012.

          WHEREFORE Defendants request that summary judgment be denied because there are

   disputed issues of fact as to each and every claim raised by the Plaintiff.



                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served by notice
   of electronic filing via CM/ECF to John E. Page, counsel for Plaintiff (jpage@sflp.law) and
   Bernice C. Lee, counsel for Plaintiff (blee@sflp.law), and to those other parties registered to
   receive such service on May 3, 2017.
                                                        /s/ Agustin R. Benitez
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